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 8
                          UNITED STATES DISTRICT COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
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12   XIAOWEN YANG, an individual,          Case No. TBD
13                          Plaintiffs,    DEFENDANT TRAVELSKY
                                           TECHNOLOGY USA LTD.’S
14         vs.                             NOTICE OF REMOVAL OF CIVIL
                                           ACTION PURSUANT TO 28 U.S.C.
15   TRAVELSKY TECHNOLOGY USA              §§ 1331, 1441, and 1446, and 29
     LTD.; TRAVELSKY TECHNOLOGY            U.S.C. §§ 1132(a), 1144(a) and
16   LIMITED, and DOES 1 through 25,       1144(c)
     inclusive,
17                                         [Filed concurrently with Declaration
                             Defendants.   of Scott J. Witlin; Civil Cover Sheet;
18                                         Certification and Notice of Interested
                                           Parties; and Notice of Related Cases]
19
                                           Complaint Filed:    April 1, 2021
20                                         Trial Date:         Not Set
                                           District Judge:     TBD
21                                         Magistrate Judge:   TBD
22                                         Removal Date:       July 9, 2021
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 1         TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
 2   DISTRICT OF CALIFORNIA AND TO PLAINTIFF AND HER COUNSEL OF
 3   RECORD:
 4         PLEASE TAKE NOTICE that Defendant Travelsky Technology USA Ltd.
 5   (“Travelsky USA”) petitions the Court to remove this action from the Superior Court of
 6   the State of California for the County of Los Angeles to the United States District Court
 7   for the Central District of California, under the authority of 28 U.S.C. sections 1331,
 8   1441, 1446, and 29 U.S.C. sections 1132(a), 1144(a) and 1144 (c).
 9   I.    THE STATE COURT ACTION
10         1.     On April 1, 2021, Plaintiff Xiaowen Yang filed a complaint in the Superior
11   Court of California for the County of Los Angeles, designated as Xiaowen Yang, an
12   individual, Plaintiffs [sic] vs. Travelsky Technology USA, Ltd., Travelsky Technology
13   Limited, and Does 1 through 25, inclusive, Defendants, Case number 21STCV12550
14   (the “Lawsuit”).
15         2.     Ms. Yang served a summons and complaint on Travelsky USA using the
16   method prescribed in section 415.30 of the California Code of Civil Procedure (“Section
17   415.30”). Declaration of Scott J. Witlin (“Witlin Decl.”) ¶ 2. Ms. Yang mailed a copy of
18   the summons, complaint, and Notice and Acknowledgment of Receipt – Civil (the
19   “N&A”) to Travelsky counsel. Witlin Decl. ¶ 2. To Travelsky USA’s knowledge, Ms.
20   Yang has not served the other named defendant in the Lawsuit. Id.
21         3.     Travelsky USA’s counsel executed the N&A on June 11, 2021. Witlin
22   Decl. ¶ 3.
23         4.     True and correct copies of the Summons, Complaint, Notice of ADR
24   Procedures, Notice of Case Assignment, Notice of Case Management Conference, First
25   Amended General Order, the served N&A and the N&A executed on behalf of
26   Travelsky USA are attached as Exhibits 1-8 to the Declaration of Scott J. Witlin. Witlin
27   Decl. ¶ 4. These exhibits encompass all process, pleadings, and orders served on or by
28   Travelsky USA in this Lawsuit. Id.

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 1   II.      TIMELINESS
 2            5.    Under Section 415.30, a summons is deemed served when the
 3   acknowledgment of receipt of summons is executed. C.C.P. § 415.30. Travelsky USA
 4   executed the Acknowledgment on June 11, 2021. Witlin Decl. ¶ 3. According to Section
 5   415.30, service of the summons and complaint was effective on June 11, 2021. Id.
 6            6.    A defendant in a civil action has 30 days from the date that service of the
 7   summons and complaint is complete to remove the action to federal court. 28 U.S.C. §
 8   1446(b).
 9            7.    Travelsky USA filed this removal on July 9, 2021, which is within 30 days
10   of June 11, 2021. Removal of the Lawsuit is therefore timely.
11   III.     SUBJECT MATTER JURISDICTION
12            8.    Federal courts have exclusive jurisdiction over claims because some or all
13   of the claims contained in the Complaint arise under the Employee Retirement Income
14   Security Act (“ERISA”). 29 U.S.C. § 502 (a) and (e) (1).1 ERISA lawsuits filed in state
15   court generally are removable to federal court. 28 U.S.C. §1441.
16            9.    ERISA preemption operates in two ways. Preemption is complete when a
17   plaintiff asserting a state-law claim seeks to enforce rights under an ERISA plan that she
18   could enforce under Section 502(a) of ERISA. See 29 U.S.C § 1132(a). Preemption may
19   also occur where the state-law conflicts with ERISA under Section 514. 29 U.S.C. §
20   1144(a) (ERISA shall “supersede any and all common laws insofar as they relate to an
21   employee benefit plan.”).
22            10.    Any state law claim that displaces, duplicates or supersedes ERISA’s
23   comprehensive civil enforcement scheme conflicts with Congress’ intent to make
24   ERISA’s remedy exclusive and is preempted under Section 514. See 28 U.S.C. §1441
25   (ERISA’s preemption provision makes clear that the statute generally will “supersede
26   any and all State laws insofar as they may now or hereafter relate to any [qualifying]
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         The sole exception is for certain claims for benefits not applicable here. Id.
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 1   employee benefit plan….”); Ingersoll-Rand Co. v. McClendon, 498 U.S. 133, 143-145,
 2   111 S.Ct. 478 (1990).
 3         11.        “A law ‘relates to’ an employee benefit plan, in the normal sense of the
 4   phrase, if it has a connection with or reference to such a plan.” Ingersoll-Rand,
 5   498 U.S. at 139 (citations omitted). Under this “broad commonsense meaning,” a state
 6   law may relate to a benefit plan and ERISA will preempt it, whether the law was meant
 7   to affect employee benefit plans or affects them indirectly. Id.
 8         12.    The Ninth Circuit has held that a state law is preempted if it “encroaches on
 9   the relationships” that ERISA regulates. Hashimoto v Bank of Hawaii, 999 F.2d. 408,
10   444 (9th Cir 1993). Where, as here, a state-law whistleblower claim requires the plaintiff
11   to have reasonably believed the employer violated the law, an interpretation of ERISA
12   plan documents would likely be required. Id.
13         13.    Unsolicited, informal complaints to management are Section 510 protected
14   activity. Hashimoto v. Bank of Hawaii, 999 F.2d 408, 411 (9th Cir. 1993).
15         14.    Retaliation and discrimination claims based on a plaintiff’s report of
16   “concerns about ‘potential and/or actual violations … of ERISA’” are preempted. See
17   Hashimoto, 99 F. 2d at 411 (“[W]e hold that the Hawaii Whistle Blower’s Act, to the
18   extent an ERISA violation is involved, [is] preempted by the specific provision of
19   ERISA protecting whistle blowers such as [the plaintiff]”); Huitt v. Optum Health
20   Services, 216 F. Supp. 3d 1179 (D. Or. 2016) (finding ERISA preemption where
21   plaintiff alleged she was terminated because she reported ERISA violations to her
22   employer and the Department of Labor and filed an appeal).
23         15.    Removal in this case proper under either 28 U.S.C. section 1132(a) or
24   1441(a) and section because a United States District Court would have had exclusive
25   jurisdiction of this Lawsuit under ERISA had the Complaint originally been filed in
26   federal court.
27         16.    Ms. Yang alleges that she was discharged in retaliation for complaints she
28   made as to violations of ERISA involving, among other things, Travelsky USA’s health

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 1   insurance and 401(k) plans. To determine whether her complaints were a motivating
 2   factor in her discharge, the court must find the existence of an ERISA plan but also must
 3   interpret ERISA to determine whether a violation of law existed or potentially existed.
 4   Her state-law claims are preempted by ERISA because an adjudication of the claims
 5   necessarily requires an adjudication of ERISA-related issues.
 6          17.   Ms. Yang’s Complaint alleges six state-law claims – the gravamen of
 7   which is her allegation that Travelsky USA and her manager, retaliated against her
 8   because she complained and or reported internally and externally that Travelsky USA
 9   was denying employees their right to participate in the company’s health insurance and
10   retirement plans. Complaint ¶¶ 11-13
11          18.   Ms. Yang alleges claims that she “confronted her manager about the
12   decision to deny [employees] the opportunity to participate in the health insurance plan
13   and the decision to deny her and two other employees the opportunity to participate in
14   the company’s 401(k) plan.” Complaint ¶ 16. She also alleges that she told her manager
15   “that the 401(k) and health insurance plans should be offered to all eligible employees,
16   and that it was illegal to deny eligible employees’ enrollment.” Id.
17          19.   Ms. Yang then contends that she wrote to Travelsky USA’s “headquarters”
18   about the manager’s alleged conduct, expressly reserving the right to report her conduct
19   government agencies. Complaint ¶ 22.
20          20.   Ms. Yang contends that on July 22, 2020 she lodged a formal complaint
21   with the Department of Labor, “describing [the manager’s] unlawful practices,
22   including but not limited to [her] discriminatory denial of several eligible employees’
23   enrollment in the company’s 401(k) and group health plans.” Complaint ¶ 25. One day
24   later, Ms. Yang alleges that she formally complained to the Department of Fair
25   Employment and Housing (“DFEH”) about the manager’s “unlawful practices and
26   discriminatory denial of eligible employees’ enrollment in the company’s 401(k) and
27   group health insurance plans.” Complaint ¶ 26.
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 1         21.    Ms. Yang further alleges that she again complained to “Headquarters” in
 2   August 2020 about the manager’s “unlawful discrimination with regard to employee
 3   enrollments in the company’s 401(k) and group health insurance plans.” Complaint ¶
 4   27. After “Headquarters” notified Ms. Yang it would investigate her complaints, she
 5   Ms. Yang claims that the manager asked her for “detailed information about [the]
 6   401(k) plan.” Complaint ¶ 28.
 7         22.    Travelsky USA terminated Ms. Yang’s employment on August 28, 2020.
 8   Complaint ¶ 30.
 9         23.    Ms. Yang’s alleges that Travelsky USA violated California Labor Code
10   section 1102.5 (“Section 1102.5”), which prohibits an employer from, among other
11   things, retaliating against an employee who has disclosed or who may disclose
12   information to a government agency or internal authority if the employee has
13   reasonable cause to believe that the information discloses a violation of or
14   noncompliance with a state or federal statute, rule or regulation. C.C.P. § 1102.5 (a) –
15   (c); Complaint ¶¶ 32-34. Ms. Yang claims that her termination violated Section 1102.5,
16   in part because she raised concerns about Travelsky USA’s “denial of employee
17   benefits to eligible employees.” Complaint ¶ 35.
18         24.    Ms. Yang also alleges that her termination violated public policy, as
19   embodied in Section 1102.5, because she reported Travelsky USA’s refusal to offer
20   certain employees the opportunity to participate in its health insurance and 401(k)
21   benefit plans, and what she reasonably believed were violations of state or federal law.
22   Complaint ¶ 74.
23         25.    Ms. Yang’s alleged injuries thus arise directly arise from her claim that
24   Travelsky USA unlawfully withheld benefits under its health insurance and 401(k)
25   benefit plans. Ms. Yang’s Section 1102.5 and public policy “claim[s] would require the
26   [C]ourt to evaluate the substance of the complaints.” Hashimoto, 999 F.2d at 411. In
27   particular, the Court would need to determine whether Ms. Yang had “reasonable cause
28   to believe” she complained about or disclosed a violation of or noncompliance with

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 1   state or federal law, rules or regulations. Id.
 2          26.   Therefore Ms. Yang’s arise under ERISA and Federal question jurisdiction
 3   therefore exists in this action based on the complete preemption of Ms. Yang’s claims.
 4   IV.    VENUE
 5          27.   Venue is proper in this Court because the case was filed and was pending
 6   in Los Angeles Superior Court at the time of removal.
 7   V.     REQUIREMENTS OF 28 U.S.C. SECTION 1446
 8          28.   The requirements of 28 U.S.C. section 1446 have been satisfied.
 9          29.   In accordance with 28 U.S.C. section 1446(a), this Notice of Removal is
10   filed in the District Court of the United States in which the action is pending.
11          30.   In accordance with 28 U.S.C. section 1446(a), this Notice of Removal is
12   accompanied by the Declaration of Scott J. Witlin, Exhibits 1-8. These documents
13   encompass all process, pleadings, and orders served on or by TravelSky USA. Witlin
14   Decl. ¶ 4.
15          31.   In accordance with 28 U.S.C. section 1446(b), TravelSky USA filed this
16   Notice of Removal within 30 days after service on Travelsky USA was complete under
17   California Code of Civil Procedure 415.30.
18          32.   In accordance with 28 U.S.C. section 1446(d), Travelsky USA will give
19   written notice of the original removal of this action to Ms. Yang via counsel and will
20   file a copy of that Notice with the Los Angeles County Superior Court.
21   VI.    RESERVATION OF RIGHTS
22          33.   Travelsky USA reserves all rights, claims, and defenses (including all
23   defenses under Rule 12(b) of the Federal Rules of Civil Procedure).
24   VII. CONCLUSION
25          34.   Because jurisdiction is proper under 28 U.S.C. sections 1331, 1441, and
26   1446, and 29 U.S.C. §§ 1132(a), 1144(a) and 1144(c), Travelsky USA respectfully
27   requests that the Court exercise its removal jurisdiction over this action.
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 1         35.   If the Court has questions regarding the propriety of this Notice of
 2   Removal, Travelsky USA respectfully requests that the Court issue an Order to Show
 3   Cause so Travelsky USA has the opportunity to address such questions.
 4
 5   Dated: July 9, 2021                   BARNES & THORNBURG LLP
 6
                                           By: /s/ Scott J. Witlin
 7                                            Scott J. Witlin
                                              Attorneys for Defendant
 8                                            TRAVELSKY TECHNOLOGY USA
                                              LTD.
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